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                                                                          LEE KEITH BRETT
                                                                     11
M C D ERMOTT W ILL & E MERY LLP




                                                                     12
                                  ATTO RNEY S AT LAW




                                                                                                          UNITED STATES DISTRICT COURT
                                                       MENLO PAR K




                                                                     13
                                                                                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                     14

                                                                     15   LFP IP, LLC,                                  CASE NO. 2:16-cv-00166
                                                                     16                           Plaintiff,            Hon. Frederick F. Mumm
                                                                     17            v.                                   JOINT EXHIBIT LIST
                                                                     18   LEE KEITH BRETT,                              Pretrial Conference: September 12, 2018
                                                                     19                           Defendant.            First Day of Trial: October 2, 2018
                                                                     20

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                                                                                                                                              JOINT EXHIBIT LIST
                                                                                                                                           CASE NO. 2:16-CV-00166

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                                                                      1            Pursuant to the Court’s June 26, 2018 Order and Local Rule 16-6.1, Plaintiff
                                                                      2   LFP IP, LLC and Defendant Lee Keith Brett hereby submit the following joint
                                                                      3   exhibit list:
                                                                      4   Exhibit Description                                 Date             Date
                                                                      5   No.                                                 Identified       Admitted
                                                                          1       Registration certificate for HUSTLER®
                                                                      6
                                                                                  (U.S. Reg. No. 1,011,001) and related
                                                                      7           USPTO documents
                                                                          2       Registration certificate for the
                                                                      8
                                                                                  HUSTLER® mark for apparel items (U.S.
                                                                      9           Reg. No. 2689852) and related USPTO
                                                                                  documents
                                                                     10
                                                                          3       Registration certificate for the HUSTLER
                                                                     11           HOLLYWOOD® mark for retail store
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                                                                                  services (U.S. Reg. No. 4312312) and
                                                                     12
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                                                                                  related USPTO documents
                                                       MENLO PAR K




                                                                     13   4       Print outs from the “WHOIS” database for
                                                                     14
                                                                                  several domain names owned by LFP/LFP
                                                                                  affiliates
                                                                     15   5       Registration certificate for the HUSTLER
                                                                     16           CLUB ® mark for night clubs (U.S. Reg.
                                                                                  No. 2689852) and related USPTO
                                                                     17           documents
                                                                     18   6       Registration certificate for the HUSTLER
                                                                                  CASINO® mark for casino services (U.S.
                                                                     19           Reg. No. 2479911) and related USPTO
                                                                     20           documents
                                                                          7       Registration certificate for the HUSTLER
                                                                     21           TV® mark for cable, satellite, television
                                                                     22           and video-on-demand (VOD)
                                                                                  broadcasting. HUSTLER TV® (U.S. Reg.
                                                                     23           No. 3008950) and related USPTO
                                                                     24           documents
                                                                          8       Various images of t-shirt graphic designs
                                                                     25           and styles utilized by LFP
                                                                     26   9       Various images of graphic designs, t-shirts
                                                                                  and merchandise depicting LFP’s use of
                                                                     27           the “Hardcore Since ’74” slogan and
                                                                     28           number “74”

                                                                                                                  -2-                         JOINT EXHIBIT LIST
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                                                                      1   10            Additional HUSTLER U.S. Trademark
                                                                      2                 Registrations owned by LFP
                                                                          11            HustlerHollywood.com screen captures
                                                                      3
                                                                          12            Defendant’s U.S. Trademark Application
                                                                      4                 filed on June 10, 2015 (Printout of USPTO
                                                                                        Records)
                                                                      5
                                                                          13            Images from
                                                                      6                 AmericanHustlerClothing.com website
                                                                      7
                                                                                        dated June 23, 2015
                                                                          14            Images from angel.co website displaying
                                                                      8                 “American Hustler Clothing” items for
                                                                      9                 sale dated October 29, 2015
                                                                          15            Images from “American Hustler Clothing”
                                                                     10                 Facebook pages
                                                                     11   16            September 9, 2015 Letter of Protest
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                                                                                        submitted by LFP to the USPTO
                                                                     12   17            USPTO’s Letter of Protest Memorandum
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                                                       MENLO PAR K




                                                                     13   18            October 22, 2015 USPTO Office Action
                                                                                        issued in response to AMERICAN
                                                                     14                 HUSTLER application Ser. No. 86657943
                                                                     15   19            January 10, 2016 USPTO Final Office
                                                                                        Action issued to AMERICAN HUSTLER
                                                                     16                 application Ser. No. 86657943
                                                                     17   20            Printout of the Registrar’s WHOIS
                                                                                        information pertaining to the
                                                                     18
                                                                                        www.americanhustlerclothing.com domain
                                                                     19                 name
                                                                          21            Screen capture of the website located at
                                                                     20
                                                                                        AmericanHustlerClothing.com dated
                                                                     21                 November 9, 2015
                                                                          22            Images of Defendant’s t-shirts using terms
                                                                     22
                                                                                        such as “original” from website located at
                                                                     23                 AmericanHustlerClothing.com
                                                                          23            Images of Defendant’s t-shirts referring to
                                                                     24
                                                                                        1974 from website located at
                                                                     25                 AmericanHustlerClothing.com
                                                                     26
                                                                          24            Images of Defendant’s t-shirts that
                                                                                        incorporate graphics associated with
                                                                     27                 gaming and poker from website located at
                                                                     28
                                                                                        AmericanHustlerClothing.com

                                                                                                                    -3-                  JOINT EXHIBIT LIST
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                                                                      1   25            Image of Defendant’s t-shirt referred to as
                                                                      2                 “Hustler Ladies” from website located at
                                                                                        AmericanHustlerClothing.com
                                                                      3
                                                                          26            November 2015 cease and desist letter to
                                                                      4
                                                                                        Defendant with attached screen shots
                                                                      5                 from the AmericanHustlerClothing.com
                                                                                        website
                                                                      6
                                                                          27            Printout of entry regarding The Hustler
                                                                      7                 (movie) from the website IMDb.com
                                                                      8   28            Printout of entry regarding The Color of
                                                                                        Money (movie) from the website
                                                                      9                 IMDB.com
                                                                     10   29            Printout of Merriam Webster Dictionary
                                                                                        definition of the term “Hustler”
                                                                     11
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                                                                          30            Printout of article entitled An Amazing
                                                                     12                 Story of America’s greatest hustler – Post
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                                                                                        and Courier News
                                                       MENLO PAR K




                                                                     13   31            Printout of Wikipedia.com entry regarding
                                                                     14                 the term “Hustling”
                                                                          32            Printout of Lyrics to song Hustler, by “50
                                                                     15                 Cent,” from Genius Lyrics
                                                                     16   33            Printout of Google Search results for
                                                                                        “1974 t shirts”
                                                                     17
                                                                          34            Printout of Google Search results for
                                                                     18                 “Spade t shirts”
                                                                          35            Printout of “About Us” section from
                                                                     19
                                                                                        American Hustler Clothing Website
                                                                     20   36            Images of each design sold by American
                                                                                        Hustler
                                                                     21
                                                                          37            Hustler T Shirt – Walmart.com
                                                                     22   38            Printout of Walter Tevis, The Hustler
                                                                     23
                                                                                        (novel) from Amazon.com
                                                                          39            American Pool players Association, bio of
                                                                     24                 Lee Brett
                                                                     25   40            Printout of Google Search Results “Lee
                                                                                        Brett apa”
                                                                     26   41            Printout of an article from Billiards Digest,
                                                                     27                 Brett Building His Business One Stroke at
                                                                                        a Time.
                                                                     28

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                                                                      1   42            Print out of Google search results “original
                                                                      2                 brand t shirt”
                                                                          43            Print out of Google search results “genuine
                                                                      3
                                                                                        authentic logo”
                                                                      4   44            Printout of lyrics to U Don’t Kno by Jay Z
                                                                                        from website Genius
                                                                      5
                                                                          45            Printout of lyrics to Hustler Musik by Lil’
                                                                      6                 Wayne from website Genius
                                                                      7
                                                                          46            Hustler Clothing design .jpeg – All I Need
                                                                                        (men)
                                                                      8   47            Hustler Clothing design .jpeg – Fell in
                                                                      9                 Love t-shirt
                                                                          48            Hustler Clothing design .jpeg – Bitches
                                                                     10                 Ain’t Shit
                                                                     11   49            Hustler Clothing design .jpeg – Repeat
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                                                                                        suck t-shirt
                                                                     12   50            Hustler Clothing design .jpeg – First Date
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                                                                     13                 t-shirt
                                                                          51            Hustler Clothing design .jpeg – Til I am
                                                                     14                 Dead T Shirt
                                                                     15   52            Hustler Clothing design .jpeg – 2 is Better
                                                                                        than 1
                                                                     16
                                                                          53            Plaintiff’s Response to Defendant’s First
                                                                     17                 request for Admission – No survey
                                                                                        evidence collected.
                                                                     18
                                                                          54            Image of photograph posted on Facebook
                                                                     19
                                                                                        by Hustler Hollywood
                                                                     20   55            Image of photograph posted on Facebook
                                                                     21
                                                                                        by Hustler Hollywood
                                                                          56            Image of photograph posted on Facebook
                                                                     22                 by Hustler Hollywood
                                                                     23   57            Image of photograph posted on Facebook
                                                                                        by Hustler Hollywood
                                                                     24   58            Image of photograph posted on Facebook
                                                                     25                 by Hustler Hollywood
                                                                          59            Amazon.com search results for “hustler t
                                                                     26
                                                                                        shirt”
                                                                     27   60            TESS Search Result: “Hustler Hollywood”
                                                                     28

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                                                                      1   61            “Pool hall expert: How to get hustled”
                                                                      2                 article from CNN.com
                                                                          62            FASO Clothing hustler clothing result
                                                                      3   63            Hustlerturf.com clothing search - Hustler
                                                                      4                 Gear
                                                                          64            Hustlerturf.com clothing search Hustler
                                                                      5                 Gear
                                                                      6   65            Hustlerturf.com clothing search Hustler
                                                                                        Gear
                                                                      7
                                                                          66            Hustlerturf.com clothing search Hustler
                                                                      8                 Gear
                                                                          67            Hustlerturf.com clothing search Hustler
                                                                      9
                                                                                        Gear
                                                                     10   68            Hustlerturf.com clothing search Hustler
                                                                                        Gear
                                                                     11
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                                                                          69            Hustlerturf.com clothing search Hustler
                                                                     12                 Gear
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                                                                     13
                                                                          70            Hustlerturf.com clothing search Hustler
                                                                                        Gear
                                                                     14   71            Hustlerturf.com clothing search Hustler
                                                                     15                 Gear
                                                                          72            Print out of “The Hustler” (TV Series
                                                                     16                 2015- ) – IMDb.com
                                                                     17   73            Photograph of LFP document production -
                                                                                        Facebook BCA nationals
                                                                     18   74            Photograph of LFP document production
                                                                     19                 Hustler spring summer 2007
                                                                          75            Photograph of LFP document production
                                                                     20                 American hustler what we are about
                                                                     21   76            Photograph of LFP document production
                                                                                        Respect the game design
                                                                     22
                                                                          77            Photograph of LFP document production
                                                                     23                 American hustler website
                                                                          78            Photograph of LFP document production
                                                                     24
                                                                                        Hustler bang me
                                                                     25   79            Photograph of LFP document production
                                                                                        Respect the game
                                                                     26
                                                                          80            Photograph of LFP document production
                                                                     27                 Facebook APA nationals
                                                                     28

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                                                                      1   81            Photograph of LFP document production
                                                                      2                 Facebook American hustler clothing
                                                                          82            Photograph of LFP document production
                                                                      3                 Philippines design
                                                                      4   83            Photograph of LFP document production
                                                                                        Hustler cover spring summer 2007
                                                                      5   84            Photograph of LFP document production
                                                                      6                 American hustler clothing April Garcia
                                                                                        Photograph of LFP document production
                                                                      7                 LFP
                                                                      8   85            Photograph of LFP document production
                                                                                        Calendar 2007
                                                                      9
                                                                          86            Photograph of LFP document production
                                                                     10                 American Hustler products
                                                                          87            Photograph of LFP document production
                                                                     11
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                                                                                        American Hustler clothing Facebook
                                                                     12   88            Photograph of LFP document production
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                                                                                        American Hustler clothing cover photo
                                                       MENLO PAR K




                                                                     13
                                                                          89            Photograph of LFP document production
                                                                     14                 Run out pool
                                                                     15   90            Photograph of LFP document production
                                                                                        American Hustler clothing APA
                                                                     16   91            Photograph of LFP document production
                                                                     17                 American Hustler clothing angel
                                                                                        investment
                                                                     18   92            Photograph of LFP document production
                                                                     19                 American Hustler let’s gamble
                                                                          93            Photograph of LFP document production
                                                                     20                 Looking for pool rooms
                                                                     21   94            Photograph of LFP document production
                                                                                        We decided to start American Hustler
                                                                     22                 clothing
                                                                     23   95            Photograph of LFP document production
                                                                                        American Hustler clothing women L
                                                                     24
                                                                          96            Photograph of LFP document production
                                                                     25                 American Hustler clothing in your pool
                                                                                        room
                                                                     26
                                                                          97            Photograph of LFP document production
                                                                     27                 Hustler high voltage
                                                                     28

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                                                                      1   98            Photograph of LFP document production
                                                                      2                 New design for the avid pool player
                                                                          99            Photograph of LFP document production
                                                                      3                 table of contents license
                                                                      4   100           Photograph of LFP document production
                                                                                        The American Hustler journey
                                                                      5   101           Photograph of LFP document production
                                                                      6                 Regular tees beaver licker
                                                                          102           Photograph of LFP document production
                                                                      7
                                                                                        Pool players never sleep
                                                                      8   103           Photograph of LFP document production
                                                                                        American Hustler update
                                                                      9
                                                                          104           Photograph of LFP document production
                                                                     10                 Hustler honeys 12307
                                                                          105           Photograph of LFP document production
                                                                     11
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                                                                                        American Hustler men
                                                                     12   106           Photograph of LFP document production
                                  ATTO RNEY S AT LAW




                                                                                        King of billiards
                                                       MENLO PAR K




                                                                     13
                                                                          107           Print out of American Apparal hustler t
                                                                     14                 shit – Amazon.com
                                                                     15   108           Photograph of LFP document production
                                                                                        Threads and accessories license agreement
                                                                     16   109           Photograph of LFP document production
                                                                     17                 American Hustler Facebook APA 8 ball
                                                                                        event
                                                                     18   110           Photograph of LFP document production
                                                                     19                 AZ billiards review
                                                                          111           Photograph of LFP document production
                                                                     20                 Respect the game
                                                                     21   112           Photograph of LFP document production
                                                                                        Design for BCA nationals
                                                                     22
                                                                          113           Photograph of LFP document production
                                                                     23                 Products for sale
                                                                          114           Photograph of LFP document production
                                                                     24
                                                                                        Facebook post BCA nationals
                                                                     25   115           Photograph of LFP document production
                                                                                        hustler tee woman bent over
                                                                     26
                                                                          116           Photograph of LFP document production
                                                                     27                 Facebook post APA nationals
                                                                     28

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                                                                      1   117           Photograph of LFP document production
                                                                      2                 LFP licensees contact details
                                                                          118           Photograph of LFP document production
                                                                      3                 Richard from Texas
                                                                      4   119           Photograph of LFP document production
                                                                                        Got action 1971
                                                                      5   120           Photograph of LFP document production
                                                                      6                 Ladies burnout
                                                                          121           Print out of “Encyclopedia of Pool
                                                                      7
                                                                                        Hustlers” – Amazon.com
                                                                      8   122           Results of USPTO Trademark Searches
                                                                          123           Wikipedia.com search result - The Color
                                                                      9
                                                                                        of Money (movie)
                                                                     10   124           Definition of a Hustler – dictionary.com
                                                                     11
                                                                          125           “1974 t-shirts” search results print out –
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                                                                                        Google Search
                                                                     12   126           “spade shirts” search result print out –
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                                                                     13
                                                                                        Google Search
                                                                          127           American Hustler clothing Website –
                                                                     14                 americanhustlerclothing.com
                                                                     15   128           American Hustler Website –
                                                                                        americanhustlerclothing.com
                                                                     16   129           NIKE full time hustler tee – Google
                                                                     17                 Search results
                                                                          130           Print out of search results for “hustler t
                                                                     18                 shit” – Walmart.com hustler
                                                                     19   131           “Hustler” USPTO Search results
                                                                          132           Print out of HustlerHollywood.com
                                                                     20
                                                                          133           Lee Brett pool
                                                                     21   134           Google.com search results “Hustler
                                                                                        Songs”
                                                                     22
                                                                          135           Jay Z Hustler lyrics print out
                                                                     23   136           Hustler music little Wayne –
                                                                                        Wikipedia.com
                                                                     24
                                                                          137           Amazon.com search results “hustler”
                                                                     25   138           Hustlerturf.com clothing search Hustler
                                                                     26
                                                                                        Gear
                                                                          139           Hustlerturf.com clothing search Hustler
                                                                     27                 Gear
                                                                     28

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                                                                       1   140           Hustlerturf.com clothing search Hustler
                                                                       2                 Gear
                                                                           141           Hustlerturf.com clothing search Hustler
                                                                       3                 Gear
                                                                       4   142           Hustlerturf.com clothing search Hustler
                                                                                         Gear
                                                                       5   143           Hustlerturf.com clothing search Hustler
                                                                       6                 Gear
                                                                           144           Hustlerturf.com clothing search Hustler
                                                                       7
                                                                                         Gear
                                                                       8   145           Hustlerturf.com clothing search Hustler
                                                                                         Gear
                                                                       9
                                                                           146           Hustlerturf.com clothing search Hustler
                                                                      10                 Gear
                                                                           147           Hustlerturf.com clothing search Hustler
                                                                      11
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                                                                                         Gear
                                                                      12   148           Hustlerturf.com clothing search Hustler
                                  ATTO RNEY S AT LAW




                                                                                         Gear
                                                       MENLO PAR K




                                                                      13
                                                                           149           Print out of “American Hustler” logo and
                                                                      14                 “Hustler” logos
                                                                      15   150           Print out of American Hustler website –
                                                                                         americanhustlerclothing.com
                                                                      16   151           Print out of Pokerplayer.com article –
                                                                      17                 “W.C. Fields Humorist and Hustler”
                                                                           152           Print out of “A Century Ago: billiards
                                                                      18                 Mad, A Game of Pool, and Pool Sharks”
                                                                      19                 from billiardsmovies.com
                                                                           153           Printout of quotes using the term “hustler”
                                                                      20                 – brainyquote.com
                                                                      21   154           Print out of “The Hustlers: Sixties band
                                                                                         reforms 50 years on after discovering one
                                                                      22                 member wasn’t dead after all” –
                                                                      23                 theweatherchannel.com
                                                                           155           Image of American Hustler logo “Respect
                                                                      24
                                                                                         this game” .jpeg
                                                                      25   156           Print out of multiple “hustler” brand
                                                                                         pornographic websites
                                                                      26
                                                                           157           “hustler t shirt” results by Adidas –
                                                                      27                 Ebay.com
                                                                      28

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                                                                       1   158           “hustler t shirt” results by Nike –
                                                                       2                 Ebay.com
                                                                           159           Print outs of various articles on Lee Brett
                                                                       3                 and the pool industry
                                                                       4   160           USPTO search results for Adidas –
                                                                                         TESS.com
                                                                       5   161           American Hustler trademark application
                                                                       6                 office action
                                                                           162           Print out of the Complaint describing
                                                                       7
                                                                                         Hustler brand channels of trade
                                                                       8   163           American Hustler designs using 1971 and
                                                                                         1974
                                                                       9
                                                                           164            Print out of “pool hustler clothing”
                                                                      10                 Google.com search results
                                                                           165           Hustler Hollywood sex shop opening in
                                                                      11
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                                                                                         West Covina – SGVTribune.com
                                                                      12   166           Print out of Hustler Hollywood website –
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                                                                                         Hustlerhollywood.com
                                                       MENLO PAR K




                                                                      13
                                                                           167           Lee Brett news article –
                                                                      14                 Behindtherocktour.com
                                                                      15   168           USPTO search result for “Hustle”
                                                                                         trademark for graphic tees – TESS.com
                                                                      16   169           Loveoflifequotes.com – Jay Z Hustle Lyric
                                                                      17   170           Hustler t shirt results – Spreadshirt.com
                                                                           171           Print out Hustler t-shirt results
                                                                      18   172           Male Prostitution in the arts –
                                                                      19                 Wikipedia.com
                                                                           173           Queens. Hookers. And hustlers article – Nt
                                                                      20                 Yr Cister Press
                                                                      21   174           Print out of The American Hustler (1972)
                                                                                         movie – IMDb.com
                                                                      22
                                                                           175           Hustler clothing for sale print outs
                                                                      23   176           Print outs - Hustler Facebook screen shots
                                                                                         and Hustler ebay.com merchandise
                                                                      24
                                                                           177           Hustlerturf.com clothing search Hustler
                                                                      25                 Gear
                                                                      26
                                                                           178           Hustlerturf.com clothing search Hustler
                                                                                         Gear
                                                                      27   179           American Poolplayers Association –
                                                                      28                 Tournament information

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                                                                                                                                       CASE NO. 2:16-CV-00166
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                                                                       1   180           American Poolplayers Association –
                                                                       2                 Wikipedia.com
                                                                           181           Screen shot Baltimore Hustler t-shirt
                                                                       3   182           Photograph of LFP document production
                                                                       4                 Girl on Girl
                                                                           183           Printout of Danny McGoorty, A Billiard
                                                                       5                 Hustler’s Life (book) from Amazon.com
                                                                       6   184           Printout of David McCumber, Playing off
                                                                                         the Rail: A Pool Hustler’s Journey (book)
                                                                       7
                                                                                         from Amazon.com
                                                                       8   185           Printout of R.A. Dyer, Hustler Days:
                                                                                         Minnesota Fats, Wimpy Lassiter, Jersey
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                                                                                         Red, and America’s Great Age of Pool
                                                                      10                 (book) from Amazon.com
                                                                           186           Printout of Robert LeBlanc, Confessions
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M C D ERMOTT W ILL & E MERY LLP




                                                                                         of a Pool Hustler (book) from
                                                                      12                 Amazon.com
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                                                                           187           Printout of Robert Byrne, A Pool Room
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                                                                                         Hustler (book) from Amazon.com
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                                                                      16   Dated: August 22, 2018                   Respectfully submitted,
                                                                      17                                            McDERMOTT WILL & EMERY LLP
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                                                                      19                                            By: /s/ Jason D. Strabo
                                                                                                                      Jason D. Strabo
                                                                      20                                              Attorneys for Defendant
                                                                                                                      LEE KEITH BRETT
                                                                      21
                                                                           Dated: August 22, 2018                   Respectfully submitted,
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                                                                      23                                            LLP
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                                                                                                                      Jonathan W. Brown, Esq.
                                                                      26                                              Attorney for Plaintiff
                                                                                                                      LFP IP, LLC
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                                                                       1                                   SIGNATURE ATTESTATION
                                                                       2            Pursuant to Local Rule 5-4.3.4, I hereby attest that all other signatories
                                                                       3   listed, and on whose behalf the filing is submitted, concur in the filing’s content
                                                                       4   and have authorized the filing.
                                                                       5                                                By: /s/ Jason D. Strabo
                                                                                                                          Jason D. Strabo
                                                                       6                                                  Attorneys for Defendant
                                                                                                                          LEE KEITH BRETT
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